
964 N.E.2d 509 (2012)
357 Ill. Dec. 830
Magdalena KRESTA, petitioner,
v.
WITOLD M. ZAJEWSKI, M.D., P.C., et al., etc., respondents.
No. 112413.
Supreme Court of Illinois.
March 28, 2012.
Petition for leave to appeal denied.
In the exercise of this Court's supervisory authority, the Appellate Court, First District, is directed to vacate its order in Kresta v. Witold M. Zajewski M.D., P.C., case No. 1-11-0734 (03/31/11), to consider the certified questions on the merits and in light of the decision in Sandholm v. Kuecker, 2012 IL 111443, 356 Ill.Dec. 733, 962 N.E.2d 418.
